               CaseCase:
                    3:10-cv-03561-WHA
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                                                             Filed: 11/14/2016
        UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

                                             NOTICE OF DOCKETING

                                17-1202 - Oracle America, Inc. v. Google Inc.

Date of docketing: November 14, 2016

Appeal from: United States District Court for the Northern District of California case no. 3:10-cv-03561-WHA

Cross-Appellant(s): Google Inc.

Critical dates include:

    •   Date of docketing. See Fed. Cir. R. 12.
    •   Requests for extensions of time. See Fed. Cir. R. 26 and 27. N.B. Delayed requests are not favored by the
        court.
    •   Briefs. See Fed. Cir. R. 31. N.B. You will not receive a separate briefing schedule from the Clerk's
        Office.
    •   ORAL ARGUMENT SCHEDULE CONFLICTS: Counsel should advise the clerk in writing within 30 days
        once briefing is completed of potential scheduling conflicts or as soon as they are known and should not wait
        until an actual conflict arises. Once scheduled, a case will not be postponed except on motion showing
        compelling reasons. See Practice Note following Fed. Cir. R. 34.

Peter R. Marksteiner
Clerk of Court

cc: United States District Court for the Northern District of California
Bruce William Baber
E. Joshua Rosenkranz
